65 F.3d 962
    314 U.S.App.D.C. 218
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Jerome A. PORTER, Appellant.
    No. 94-3080.
    United States Court of Appeals, District of Columbia Circuit.
    Aug. 24, 1995.
    
      Before:  WALD, GINSBURG, and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for an opinion.  See D.C.Cir.Rule 36(b).  It is
    
    
      2
      ORDERED AND ADJUDGED that the conviction from which this appeal has been taken be affirmed.  The evidence regarding identity was sufficient for a rational trier of fact to have found beyond a reasonable doubt that appellant was the person from whom undercover DEA agents purchased cocaine base on April 16, 1992.  See United States v. Washington, 12 F.3d 1128, 1135-36 (D.C.Cir.1994).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir. Rule 41.
    
    